       CASE 0:13-cv-03003-WMW-DTS Doc. 346 Filed 09/30/19 Page 1 of 6




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                           Civ. No. 13-3003 (WMW/DTS)

 United States of America,
 ex rel. Kipp Fesenmaier,
                                                          DECLARATION OF
               Plaintiffs,                               CHAD BLUMENFIELD

       v.

 The Cameron-Ehlen Group, Inc.,
 DBA Precision Lens, and Paul Ehlen,

               Defendants.


      CHAD BLUMENFIELD, for his declaration pursuant to 28 U.S.C. § 1746, states

as follows:

   1. I am an adult, competent, and have personal knowledge of the facts herein.

   2. I am an Assistant United States Attorney (“AUSA”) in the United States Attorney’s

      Office for the District of Minnesota.

   3. In September 2013, counsel for Relator Kipp Fesenmaier disclosed to me that they

      would be filing a qui tam complaint. Our office opened a civil file in connection

      with the matter on September 26, 2013, and I was assigned as the primary AUSA.

   4. I had attended a meeting with Herrett and AUSA David Genrich in late 2012, but

      did not become materially involved in the investigation at that time.

   5. On November 1, 2013, Fesenmaier filed a qui tam Complaint under seal, alleging

      misconduct by Precision Lens, Paul Ehlen, Sightpath, and others.
   CASE 0:13-cv-03003-WMW-DTS Doc. 346 Filed 09/30/19 Page 2 of 6




6. When Mr. Fesenmaier filed a qui tam Complaint regarding kickbacks by Precision

   Lens, Paul Ehlen, and others, I began investigating the allegations in the Complaint

   pursuant to 31 U.S.C. § 3730(a).

7. FBI Special Agent Mary Jo Herrett was my point of contact with the FBI regarding

   the investigation. At some point, though I do not recall when, I learned that Mr.

   Fesenmaier had been recording conversations as an FBI confidential human source

   to obtain information for the investigation.

8. On October 30, 2014, the United States Attorney’s Office served a subpoena on

   Precision Lens. I served the subpoena on Mr. Beimers by email and copied AUSA

   Genrich on the email, noting to Mr. Beimers the existence of a parallel investigation.

   The United States Attorney’s Office had served a subpoena on Sightpath in 2014.

9. My colleagues in the United States. Attorney’s Office and I worked with attorneys

   for Precision Lens and Sightpath to obtain documents responsive to the subpoena.

   We also worked with law enforcement agents on the investigation. We spent

   considerable time reviewing the documents produced, which included e-mails,

   financial statements, expense reports, credit card statements, invoices, that pertained

   to over three hundred separate transactions involving items of value paid to

   surgeons.

10. Between December 2014 and March 2016, Precision Lens produced over 149,000

   pages of documents and Sightpath produced over 210,000 pages of documents.




                                          2
   CASE 0:13-cv-03003-WMW-DTS Doc. 346 Filed 09/30/19 Page 3 of 6




11. Because of our pending civil investigation, I participated in various witness

   interviews in this matter. That included four witness interviews conducted in April

   2016, including three Precision Lens employees. Counsel to the subjects of these

   interviews did not object to my attendance or participation. Nor did anyone else.

12. I was not involved with any decision to issue grand jury subpoenas in this matter. .

13. I requested extensions of the Court’s seal over the qui tam complaint in order to

   further develop the investigation with respect to all defendants named by the

   Relator. Later, I requested extensions of the seal to facilitate settlements with

   Sightpath, its CEO, Jim Tiffany, and a physician alleged to have received kickbacks

   from Sightpath and Precision Lens. The settlements with Sightpath and its CEO

   were reached in August 2017 and the settlement with the physician was reached in

   February 2018. The settlement proceeds totaled just under $15 million. Sightpath

   and Tiffany agreed to pay $12 million, and the physician agreed to pay $2.9 million.

   Sightpath and Tiffany resolved allegations that they provided trips and

   entertainment to physicians to induce them to use its products and services in

   connection with eye surgeries paid for by Medicare.         The physician resolved

   allegations that he received inducements. The extensions were not sought to make

   recordings.

14. By September 2016, we had largely completed our investigation of the Relator’s

   Amended Complaint.




                                         3
   CASE 0:13-cv-03003-WMW-DTS Doc. 346 Filed 09/30/19 Page 4 of 6




15. At a meeting with counsel for Defendants in 2016, I advised that our investigation

   had largely concluded, but that we were not formally intervening because of

   protracted settlement discussions with other named Defendants.

16. I did not receive or listen to the recordings during the investigation of the qui tam

   Complaint.

17. I believed that there would have been nothing improper with me using the

   recordings in my investigation, but wanted to proceed cautiously.

18. I first took possession of the recordings made by Fesenmaier as part of the FBI

   investigation when gathering documents responsive to Defendants discovery

   requests propounded in this action in the fall of 2018. I collected the recordings

   from Special Agent Herrett because I believed we should evaluate them to determine

   if they were responsive to Defendants’ discovery requests and our discovery

   obligations. Prior to this time, I had not obtained the recordings or reviewed them.

19. During the pendency of the civil investigation in this matter, I have been the primary

   assigned civil division AUSA. To the best of my knowledge, the USAO Civil

   Division did not receive the recordings from the FBI, listen to their contents, or

   produce them to Relator’s counsel during the investigation.

20. The recordings did not play any role in the intervention decision. The recordings

   were not used to draft the United States’ Complaint in Intervention in this case.




                                          4
   CASE 0:13-cv-03003-WMW-DTS Doc. 346 Filed 09/30/19 Page 5 of 6




21. After obtaining the recordings from the FBI, I provided them to Relator’s counsel

   to facilitate a privilege review. Neither I nor anyone in the government had

   provided the recordings to Relator’s counsel prior to this time.

22. The United States disclosed the existence of the recordings to Defendants by

   cataloging them in its categorical privilege log dated November 13, 2018: “audio

   recordings of discussions with witnesses, primarily in connection with the criminal

   investigation.” Privilege was temporarily asserted over the recordings because

   neither the government attorneys nor Relator’s counsel had not listened to the

   recordings, and we wanted to give Relator’s counsel an opportunity to review the

   recordings for potential privileged communications.

23. Before the Relator’s review was completed, and before my colleague and I

   completed the government’s privilege log to more comprehensively disclose and

   log the recordings, the government shut down due to a lapse in appropriations. My

   colleague working on the case and I were furloughed until appropriations were

   restored in February 2019.

24. The recordings were produced to Defendants on March 7th pursuant to a clawback

   agreement (entered into on March 5th) because the privilege review by Relator’s

   counsel had not yet concluded, well before the close of discovery, and before any

   depositions. One recording was subsequently discovered to contain attorney-client

   privileged material and was clawed back by Relator’s counsel. Neither the United

   States nor Defendants have sought to claw back as privileged any of the recordings.



                                         5
      CASE 0:13-cv-03003-WMW-DTS Doc. 346 Filed 09/30/19 Page 6 of 6




  25. Defendants sought an index of the recordings in discovery. We investigated and

     learned that no such index had been prepared. After Magistrate Judge Schultz

     ordered us to produce or create an index by April 30, 2019, we arranged to have an

     index created.

     I declare under penalty of perjury that the forgoing is true and correct to the best of

my knowledge.

Dated: 9/30/2019


                                                /s/Chad A. Blumenfield
                                                Chad A. Blumenfield
                                                Assistant United States Attorney




                                            6
